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   POM WONDERFUL LLC and THE
 9 WONDERFUL COMPANY LLC
10
11                        UNITED STATES DISTRICT COURT
12            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13
14 POM WONDERFUL LLC, a Delaware            Case No.
   limited liability company, THE
15 WONDERFUL COMPANY LLC, a                 COMPLAINT FOR TRADEMARK
   Delaware limited liability company,      INFRINGEMENT, UNFAIR
16                                          COMPETITION UNDER CAL. BUS.
                 Plaintiff,                 & PROF. CODE §17200 ET. SEQ.,
17                                          AND CALIFORNIA COMMON
         vs.                                LAW UNFAIR COMPETITION
18
   BAI BRANDS LLC, a Delaware
19 limited liability company,
20                 Defendant.
21
22
23
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28
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 1            Plaintiffs POM Wonderful LLC and The Wonderful Company LLC hereby
 2 allege as follows:
 3                                        PARTIES
 4            1.   Plaintiff POM Wonderful LLC is a Delaware limited liability company
 5 with its principal place of business located at 11444 West Olympic Boulevard in
 6 Los Angeles, California 90064. POM Wonderful LLC produces, markets, sells and
 7 distributes pomegranate and pomegranate based products worldwide in connection
 8 with its highly distinctive POM® brand products including, but not limited to, fresh
 9 fruit, fresh and freeze dried pomegranate arils (seeds), juices, teas, and dietary
10 supplements.
11            2.   POM Wonderful LLC’s tea products (“POM® Teas”) are produced,
12 marketed, sold and distributed with the SUPER TEA trademark (“SUPER TEA™
13 Mark”).
14            3.   Plaintiff The Wonderful Company LLC is the owner of the infringed
15 SUPER TEA™ Mark at issue in this case and the licensor of the mark to POM
16 Wonderful LLC. POM Wonderful LLC and The Wonderful Company LLC are
17 collectively referred to as “POM Wonderful”.
18            4.   POM Wonderful is informed and thereon believes that Defendant Bai
19 Brands LLC (“Bai” or “Defendant”) is a Delaware limited liability company with its
20 principal place of business located at 1800 E. State Street, Suite 153, Hamilton, New
21 Jersey 08609. Bai manufactures, advertises, sells, distributes, and markets juice
22 blends, teas and water under the Bai Brand.
23            5.   POM Wonderful is informed and believes, and based thereon alleges,
24 that Defendant Bai was in some manner responsible for the acts alleged herein and
25 the harm, losses and damages suffered by POM Wonderful as alleged hereinafter.
26            6.   As described further below, POM Wonderful is informed and believes,
27 and based thereon alleges, that Defendant conducts business and distributes its
28 products in California, within this Court’s jurisdiction in Southern California and in
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 1 the greater Los Angeles area.
 2                               JURISDICTION AND VENUE
 3            7.     This action arises under California common law, 15 U.S.C. § 1125(a),
 4 and California Business and Professions Code § 17200 et seq.. This Court has
 5 subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 (diversity)
 6 and 28 U.S.C. § 1331 (federal question).
 7            8.     POM Wonderful is informed and believes, and based thereon alleges,
 8 that venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and 1391(c)
 9 because a substantial part of the events giving rise to the claims occurred in this
10 District. Additionally, POM Wonderful is informed and believes, and based thereon
11 alleges, that the Court has personal jurisdiction over Defendant because Defendant
12 conducts its ordinary business activities in this District, has focused a portion of its
13 conduct in Los Angeles County within this District, has distributed, and sought to
14 distribute, infringing products in this District, and generally engages in business in
15 this District and the greater Los Angeles area.
16                  FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
17 I.         THE SUPER TEA™ MARK
18            9.     Since 2009 POM Wonderful has used the SUPER TEA™ Mark on its
19 line of POM® Teas in interstate commerce. Attached as Exhibit A are copies of
20 images of the POM® Tea line.
21            10.    Since 2009 POM Wonderful has devoted a great deal of time, money
22 and resources to develop and market its POM® Teas in connection with its SUPER
23 TEA™ Mark. Because of this, there is substantial goodwill associated with the
24 SUPER TEA™ Mark.
25            11.    The SUPER TEA™ Mark is used uniformly and consistently in every
26 product, advertisement, and promotion in connection with POM® Teas. POM
27 Wonderful, its distributors, and its distributors’ customers, both nationally and
28 internationally, have continuously and exclusively used the SUPER TEA™ Mark to
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 1 distinguish themselves as the source of goods and services in connection therewith.
 2            12.   The SUPER TEA™ Mark was custom designed to be distinctive,
 3 innovative and recognizable to consumers so that the SUPER TEA™ Mark would
 4 act as a source-identifier. Because of this, the SUPER TEA™ Mark is inherently
 5 distinctive. In the alternative, because of POM Wonderful’s exclusive and extensive
 6 use, the SUPER TEA™ Mark has acquired secondary meaning and distinctiveness,
 7 becoming extremely well known to the consuming public as identifying and
 8 distinguishing POM Wonderful exclusively and uniquely as the source of POM®
 9 Teas to which the SUPER TEA™ Mark is applied.
10            13.   The SUPER TEA™ Mark is widely recognized as a source-identifier
11 for POM® Teas. POM Wonderful has built and owns an extremely valuable
12 goodwill which is symbolized by, and associated with, its highly distinctive SUPER
13 TEA™ Mark.
14            14.   On May 4, 2016, POM Wonderful, to further protect its established
15 common law rights, filed an application with the United States Patent and
16 Trademark office for the SUPER TEA™ Mark (Application No. 87025121) in
17 International Class 32 for, “Non-alcoholic beverages with tea flavor; fruit juice
18 concentrate; fruit flavored beverages; non-alcoholic beverages containing fruit
19 juices.”
20 II.        MARKETING AND PROMOTION OF THE SUPER TEA™ MARK
21            15.   POM Wonderful pursues direct marketing efforts to grocery, club,
22 gourmet food, other specialty stores as well as restaurants, and other on-premise
23 locations throughout the world.
24            16.   Over the past several years POM Wonderful has spent substantial
25 resources marketing, advertising, promoting and selling POM® Tea using the
26 SUPER TEA™ Mark.
27            17.   POM Wonderful believes that its success with its POM® Teas is due to
28 the quality, purity and taste of its products and to the highly distinctive, innovative
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 1 and recognizable SUPER TEA™ Mark.
 2            18.   The POM® brand generally, and POM Wonderful’s SUPER TEA™
 3 Mark specifically, denotes high-quality pomegranate-based products and is a source-
 4 identifier of those products.
 5 III.       BAI’S INFRINGING PRODUCTS
 6            19.    Bai had actual notice of POM Wonderful’s rights when it received
 7 POM Wonderful’s cease and desist letter to Bai advising it of POM Wonderful’s
 8 rights on May 16, 2016.
 9            20.   Notwithstanding POM Wonderful’s rights in the SUPER TEA™ Mark,
10 and with actual notice of POM Wonderful’s rights, Defendant is manufacturing,
11 advertising, distributing, and selling products that infringe POM Wonderful’s
12 SUPER TEA™ Mark.
13            21.   POM Wonderful is informed and believes that since December 2015,
14 Defendant has manufactured and sold, and continues to sell, a variety of flavored tea
15 products under the name of “BAI ANTIOXIDANT SUPERTEA.” The BAI
16 ANTIOXIDANT SUPERTEA products include “Narino Peach Tea,” “Paraguay
17 Passionfruit Tea,” “Rio Raspberry Tea,” and “Tanzani Lemonade Tea.” Attached as
18 Exhibit B are copies of images of the BAI ANTIOXIDANT SUPERTEA line.
19            22.   Defendant’s BAI ANTIOXIDANT SUPERTEA products infringe
20 POM Wonderful’s SUPER TEA™ Mark by causing a likelihood of confusion with
21 the SUPER TEA™ Mark.
22            23.   By copying and using the SUPER TEA™ Mark, Defendant is
23 intentionally trading on the substantial goodwill created by POM Wonderful.
24 Defendant’s use of "SUPER TEA" with the infringing BAI ANTIOXIDANT
25 SUPERTEA products creates a likelihood of confusion, mistake, and deception as to
26 Defendant’s affiliation, connection, and/or association with POM Wonderful among
27 consumers and the trade.
28            24.   POM Wonderful has never authorized or consented to any such use by

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 1 Defendant of the SUPER TEA™ Mark.
 2            25.   Defendant’s unauthorized actions and use of the SUPER TEA™ Mark
 3 constitute trademark infringement, false designation of origin and unfair competition
 4 under the laws of the State of California.
 5 IV.        BAI’S ACTIONS ARE INTENTIONAL AND WILLFUL
 6            26.   POM Wonderful is informed and believes, and based thereon alleges,
 7 that Defendant intentionally designed its BAI ANTIOXIDANT SUPERTEA
 8 products so as to incorporate the inherently distinctive SUPER TEA™ Mark.
 9            27.   POM Wonderful is also informed and believes, and based thereon
10 alleges, that Defendant uses the inherently distinctive POM Wonderful SUPER
11 TEA™ Mark in commerce to intentionally cause a likelihood of confusion between
12 Defendant’s infringing product and POM Wonderful's POM® Teas, or to cause
13 mistake, or to deceive the relevant public that Defendant's goods or services are
14 authorized, sponsored or approved by or are affiliated with POM Wonderful.
15            28.   POM Wonderful is further informed and believes, and based thereon
16 alleges, that by intentionally misappropriating the SUPER TEA™ Mark, Defendant
17 is causing customer confusion in the marketplace.
18            29.   POM Wonderful is informed and believes, and based thereon alleges,
19 that Defendant has willfully and knowingly infringed the inherently distinctive
20 SUPER TEA™ Mark with knowledge of POM Wonderful's rights and in an
21 intentional attempt to target consumers who are familiar with the POM® Teas, and
22 related SUPER TEA™ Mark, by creating the impression of an association between
23 Defendant and POM Wonderful or an endorsement by POM Wonderful of
24 Defendant’s goods.
25            30.   The natural, probable and foreseeable result of the intentional, willful
26 and wrongful conduct of Defendant has been to deprive POM Wonderful of
27 business and goodwill, and to injure POM Wonderful's goodwill, reputation and
28 relationships with existing and prospective customers by infringing the SUPER
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 1 TEA™ Mark, causing customers to associate the POM® Teas and the POM® brand
 2 with the BAI ANTIOXIDANT SUPERTEA products.
 3            31.      Defendant’s conduct is the result of willful and wanton disregard of
 4 POM Wonderful's established and superior rights. Defendant adopted and used, and
 5 continues to use, the SUPER TEA™ Mark without authorization and with full
 6 knowledge of POM Wonderful's superior rights and despite having been put on
 7 notice of its infringing conduct. POM Wonderful has suffered, and will continue to
 8 suffer, irreparable injury as a result of Defendant’s unlawful actions and has no
 9 adequate remedy at law. POM Wonderful is therefore entitled to injunctive relief.
10                                  FIRST CLAIM FOR RELIEF
11                 (Trademark Infringement Pursuant to California Common Law)
12            32.      POM Wonderful incorporates by reference Paragraphs 1 through 31
13 above as though fully set forth herein.
14            33.      POM Wonderful has continuously used its SUPER TEA™ Mark in
15 interstate commerce since 2009.
16            34.      The SUPER TEA™ Mark has acquired secondary meaning within the
17 trade and consuming public and/or has become distinctive in the minds of
18 purchasers in that the SUPER TEA™ Mark is associated with POM® Teas and the
19 POM® brand.
20            35.      Defendant began using “SUPERTEA” on its BAI ANTIOXIDANT
21 SUPERTEA products, based on information and belief, in or around December
22 2015, many years after POM Wonderful first used its SUPER TEA™ Mark in
23 commerce.
24            36.      Defendant, without the consent of POM Wonderful, used the SUPER
25 TEA™ Mark, in association with Defendant's own goods in a manner that creates a
26 likelihood of confusion, mistake and/or deception with the trade and consuming
27 public.
28            37.      By reason of Defendants' actions alleged herein, POM Wonderful has

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 1 suffered, and will continue to suffer, irreparable injury to its rights and suffer
 2 substantial loss of goodwill and in the value of its SUPER TEA™ Mark unless and
 3 until Defendant is enjoined from continuing its wrongful acts.
 4                             SECOND CLAIM FOR RELIEF
 5            (Trademark Infringement and False Designation of Origin Pursuant
                                  to 15 U.S.C. § 1125(a))
 6
 7            38.   POM Wonderful incorporates by reference Paragraphs 1 through 37
 8 above as though fully set forth herein.
 9            39.   Defendant’s infringing BAI ANTIOXIDANT SUPERTEA products
10 infringe POM Wonderful’s SUPER TEA™ Mark, and Defendant is falsely
11 designating the origin of its brand because the use of the SUPER TEA™ Mark as
12 part of its product’s name is likely to cause confusion, mistake, and deception with
13 respect to POM Wonderful’s SUPER TEA™ Mark.
14            40.   Defendant’s use of “SUPER TEA” as part of its product name has
15 confused and is likely to continue to cause confusion or to cause mistake, or to
16 deceive the consuming public into believing that Defendant’s goods or services are
17 authorized, sponsored or approved by or are affiliated with POM Wonderful.
18            41.   These acts constitute trademark infringement of the SUPER TEA™
19 Mark and false designation of origin in violation of 15 U.S.C. Section 1125(a),
20 entitling POM Wonderful to relief.
21            42.   By reason of Defendant’s acts, POM Wonderful is, and will continue to
22 be, irreparably harmed if Defendant’s conduct is not enjoined. POM Wonderful’s
23 remedy at law is not adequate to compensate it for the injuries inflicted, and POM
24 Wonderful is therefore entitled to injunctive relief pursuant to 15 U.S.C. Section
25 1116.
26            43.   The above-described acts of Defendant have irreparably harmed and, if
27 not enjoined, will continue to irreparably harm the general public, which has an
28 interest in being free from confusion, mistake and deception.
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 1                                 THIRD CLAIM FOR RELIEF
 2                  (Unfair Competition and Unfair Business Practices Pursuant
                         to Cal. Bus. & Prof. Code §§ 17200, 17500 et seq.)
 3
 4            44.     POM Wonderful incorporates by reference Paragraphs 1 through 43
 5 above as though fully set forth herein.
 6            45.     Defendant’s unlawful and unfair conduct includes the willful, knowing
 7 and unauthorized promotion, advertisement, sale and offering for sale of infringing
 8 goods; causing confusion as to the source of the goods; causing harm to POM
 9 Wonderful’s goodwill as a result of untrue and misleading statements; and
10 appropriating POM Wonderful’s exclusive rights in its SUPER TEA™ Mark.
11            46.     By selling and offering for sale infringing goods and services,
12 Defendant is in violation of POM Wonderful’s proprietary rights, including a
13 violation of 15 U.S.C. 1125(a) and POM Wonderful’s common law trademark rights
14 in the SUPER TEA™ Mark. Defendant’s conduct thereby constitutes unlawful,
15 unfair, deceptive and/or fraudulent trade practices and unfair competition in
16 violation of California Business & Professions Code Sections 17200, 17500 et seq.
17 The predicate acts comprising Defendant’s unlawful, unfair, deceptive and/or
18 fraudulent trade practices or acts include the violations of law more fully set forth
19 herein.
20            47.     As a direct and proximate result of Defendant’s wrongful conduct,
21 POM Wonderful has suffered injury in fact, which losses include damage to POM
22 Wonderful’s goodwill with its existing, former and potential customers and actual
23 confusion between Defendant’s infringing products and POM® Teas and POM®
24 brand.
25            48.     These wrongful acts have proximately caused, and will continue to
26 cause, POM Wonderful substantial injury, including loss of goodwill, and
27 confusion of existing and potential customers of POM Wonderful’s products. The
28 harm these wrongful acts will cause to POM Wonderful is both imminent and
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  1 irreparable, and the amount of damage sustained by POM Wonderful will be
  2 impossible to ascertain if these acts continue. As such, POM Wonderful has no
  3 adequate remedy at law.
  4            49.    Pursuant to California Business & Professions Code Section 17203,
  5 POM Wonderful is also entitled to a preliminary and permanent injunction
  6 restraining Defendant, its respective officers, agents, employees, distributors and all
  7 persons acting in concert with it, from engaging in further such unlawful conduct.
  8                              FOURTH CLAIM FOR RELIEF
  9                  (Violation of California Common Law Unfair Competition)
 10            50.    POM Wonderful incorporates Paragraphs 1 through 49 above as though
 11 set forth fully herein.
 12            51.    As set forth above, Defendant’s willful, knowing and unauthorized
 13 promotion, advertisement, sale and offering for sale of infringing goods, causing
 14 confusion as to the source of the goods and causing harm to POM Wonderful’s
 15 goodwill, consist of untrue and misleading statements and constitute an unlawful
 16 appropriation of POM Wonderful’s exclusive rights in its SUPER TEA™ Mark and
 17 constitutes unfair competition under California common law.
 18            52.    Defendant has unlawfully appropriated POM Wonderful’s exclusive
 19 rights in its SUPER TEA™ Mark, infringing on POM Wonderful’s rights.
 20            53.    By reason of Defendant’s conduct, POM Wonderful has sustained, and
 21 will continue to sustain substantial injury as set forth above.
 22            54.    Further irreparable harm and injury to POM Wonderful is imminent as
 23 a result of Defendant’s conduct, and POM Wonderful is without an adequate
 24 remedy at law.
 25            55.    POM Wonderful is therefore entitled to an injunction restraining
 26 Defendant, its agents, employees, representatives, distributors and all persons acting
 27 in concert with them, from engaging in further acts of unfair competition.
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  1                                  PRAYER FOR RELIEF
  2            56.   WHEREFORE, POM Wonderful prays for judgment against Defendant
  3 as follows:
  4            1.    That the Court enter judgment against Defendant that:
  5                  a.    Defendant infringed the rights of POM Wonderful in its SUPER
  6 TEA™ Mark in violation of California common law.
  7                  b.    Defendant infringed POM Wonderful’s rights in the SUPER
  8 Marks in violation of 15 U.S.C. Section 1125;
  9                  c.    Defendant engaged in unfair competition and deceptive acts and
 10 practices in violation of California Business & Professions Code Sections 17200,
 11 17500, et seq.;
 12                  d.    Defendant engaged in unfair competition and deceptive acts and
 13 practices in violation of California common law;
 14                  e.    That the Court enter judgment against Defendant that the above
 15 acts, 1(a) through (e), were willful and intentional, making this an exceptional case;
 16            2.    That the Court issue a preliminary and permanent injunction enjoining
 17 and restraining Defendant and its agents, employees, successors, assigns and all
 18 other persons acting in concert or in conspiracy with or affiliated with Defendant
 19 from:
 20                  a.    Engaging in any infringing activity including advertising,
 21 promoting, marketing, franchising, distributing, selling, and offering for sale any
 22 goods or services in connection with the infringing product identified herein or any
 23 product or mark similar to POM Wonderful’s SUPER TEA™ Mark in any media,
 24 whether in person, in print or by electronic or digital means including but not
 25 limited to newspapers, magazines, bus shelters, billboards as well as via the Internet,
 26 including but not limited to, company websites, promotional websites, social media
 27 websites, YouTube or other video-related websites, food reviewing websites, blogs,
 28 email, SMS and the like; and
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  1                 b.    Requiring Defendant to deliver up to POM Wonderful for
  2 destruction any and all packaging, advertising and promotional materials in
  3 Defendant’s possession, custody or control which contain the infringing products,
  4 marks, and/or designs, and any and all infringing products in their possession,
  5 custody or control which include the SUPER TEA™ Mark.
  6            3.   That the Court issue an Order at the conclusion of the present matter
  7 that all infringing products be recalled, seized, impounded and destroyed.
  8            4.   That the Court award POM Wonderful its reasonable attorneys’ fees
  9 pursuant to 15 U.S.C. § 1117, 17 U.S.C. Section 505, California law, and any other
 10 applicable provision of law.
 11            5.   That the Court award POM Wonderful its costs of suit incurred herein.
 12            6.   For such other or further relief as the Court may deem just and proper.
 13
 14
 15 DATED: January 27, 2017                ROLL LAW GROUP PC
 16
 17
                                           By:         /s/ Michael M. Vasseghi
 18
                                                 Michael M. Vasseghi
 19                                              Attorneys for Plaintiffs POM
 20                                              WONDERFUL LLC and THE
                                                 WONDERFUL COMPANY LLC
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